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 8
                                    UNITED STATES BANKRUPTCY COURT
 9                                     FOR THE DISTRICT OF NEVADA

10    In re:                                                 )   Case No.: 22-10540-GS
                                                             )
11
          STONERIDGE PARKWAY LLC,                            )   Chapter 11
12                                                           )
                        Debtor.                              )   Hearing Date: November 3, 2022
13    ______________________________________                 )   Hearing Time: 9:30 a.m.

14                                         JOINT STATUS REPORT

15             Stoneridge Parkway, LLC (the “Debtor”) and Silverstone Ranch Community Association

16   (the “Association”) by and through their respective attorneys of record, hereby submit their joint

17   report pursuant to that certain Order Setting Case Status Conference issued by this Court on

18   October 25, 2022 (ECF No. 128), and respectfully state as follows:

19      I.          Adversary Proceeding.

20             1.      On February 16, 2022, the Debtor filed its voluntary petition for relief under Chapter

21   11 of the United States Bankruptcy Code.

22             2.      The Debtor’s main asset is the real property formerly known as the Silverstone Golf

23   Course, located at 8600 Cupp Drive, Las Vegas, Nevada 89131 (the “Property”). The Property is

24   located within the Silverstone Ranch Community, a planned community development comprised

25   of over 1,500 homes built around the Property.

26             3.      On March 14, 2022, the Debtor commenced the instant adversary proceeding against

27   the Association by filing an adversary complaint seeking several claims for relief relating to the

28   Property and the restrictive covenants encumbering the same.
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 1               4.       On July 15, 2022, this Court entered an order in the main bankruptcy case granting
 2   the Association’s motion for relief from the automatic stay to allow the parties’ arbitration before
 3   JAMS, Case Reference No. 5260000004 (the “Arbitration”) to proceed.
 4               5.       On July 18, 2022, the Court entered an order (Adv. ECF No. 36) which, among other
 5   things: (i) dismissed the Debtor’s adversary complaint; (ii) granted the Debtor’s motion to amend
 6   the adversary complaint; (iii) required the Association to file an answer to the amended adversary
 7   complaint or a representative statement on whether it does or does not consent to a final order or
 8   judgment by the Court to the amended complaint; and (iv) stayed the instant adversary proceeding
 9   pending further order of the Court.
10               6.       On July 21, 2022, the Debtor filed its amended adversary complaint (Adv. ECF No.
11   42), and on August 4, 2022, the Association filed its representative statement that it does not consent
12   to a final order or judgment by the Court to the amended complaint (Adv. ECF No. 44).
13               7.       Subsequent to the entry of the above-referenced orders by this Court, there were
14   many discussions between the Debtor, the Association and the Debtor’s secured creditor, Shun Lee
15   Lending, Ltd. (“Shun Lee”) regarding Shun Lee’s pending motion for relief from the automatic
16   stay before this Court, and Shun Lee’s participation in the Arbitration.
17               8.       Ultimately, the Association and Shun Lee came to an agreement to allow Shun Lee
18   to participate under specified conditions in the Arbitration, and all parties stipulated before this
19   Court to withdraw Shun Lee’s pending motion for relief based upon that agreement.
20         II.         Arbitration Proceeding.
21               9.       On August 30, 2022, the Debtor, the Association and Shun Lee, through their
22   respective counsel, participated in a preliminary hearing before the arbitration panel, resulting in
23   Scheduling Order No. 1 (the “Scheduling Order”), a copy of which is attached hereto as Exhibit
24   A.
25               10.      In accordance with the Scheduling Order, on September 9, 2022, the Association
26   amended its arbitration demand to include Shun Lee as a defendant in the Arbitration.
27   ///
28   ///

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 1          11.     On September 27, 2022, the Debtor and Shun Lee each filed their respective answers
 2   and counterclaims on to the arbitration demand, and on October 7, 2022, the Association filed its
 3   answer to the Debtor’s counterclaims.
 4          12.     A dispute has arisen in the Arbitration between Shun Lee and the Association
 5   regarding whether or not Shun Lee’s asserted counterclaims are within or outside of its agreement
 6   to arbitrate with the Association.      A hearing on the Association’s motion to strike such
 7   counterclaims is currently scheduled for November 1, 2022.
 8          13.     Notwithstanding the current dispute between the Association and Shun Lee, the
 9   parties intend to follow the Scheduling Order by: (i) presenting their initial disclosures on
10   November 7, 2022; (ii) submitting a joint discovery plan and scheduling order on or before
11   November 18, 2022; and (iii) appearing at a status conference before the arbitration panel on
12   December 1, 2022.
13          14.     Given the December 1, 2022, status conference before the arbitration panel, the
14   parties submit that they will file another joint status report concerning the Arbitration within ten
15   (10) days of the Arbitration panel’s resolution of the dispute between the parties.
16          Dated this 31st day of October 2022.
17   SCHWARTZ LAW, PLLC                                    FENNEMORE CRAIG, P.C.
18
     By: /s/ Samuel A. Schwartz                            By: /s/ Thomas H. Fell
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27                                                         Counsel for Silverstone Ranch Community
                                                           Association
28

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 1                                    CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that a true and correct copy of the foregoing was sent electronically
 3   via the Court’s CM/ECF System on October 31, 2022, to the following:
 4   ANTHONY W. AUSTIN for Creditor SILVERSTONE RANCH COMMUNITY ASSOC.
     aaustin@fennemorelaw.com; gkbacon@fclaw.com
 5
     BRETT A. AXELROD on behalf of Creditor SHUN LEE LENDING, LTD
 6   baxelrod@foxrothschild.com; pchlum@foxrothschild.com; mwilson@foxrothschild.com
 7   CANDACE C CARLYON on behalf of Interested Party MJA Nevada, LLC
     ccarlyon@carlyoncica.com; CRobertson@carlyoncica.com; nrodriguez@carlyoncica.com;
 8   9232006420@filings.docketbird.com; Dcica@carlyoncica.com
 9   CHAPTER 11 - LV
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10
     THOMAS H. FELL on behalf of Creditor SILVERSTONE RANCH COMMUNITY ASSOC.
11   tfell@fennemorelaw.com; clandis@fennemorelaw.com; CourtFilings@fennemorelaw.com
12   TIMOTHY A LUKAS on behalf of Creditor LAS VEGAS VALLEY WATER DISTRICT
     ecflukast@hollandhart.com
13
     TRACY M. O'STEEN on behalf of Interested Party MJA Nevada, LLC
14   tosteen@carlyoncica.com; crobertson@carlyoncica.com; nrodriguez@carlyoncica.com;
     ccarlyon@carlyoncica.com
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     U.S. TRUSTEE - LV - 11
16   USTPRegion17.lv.ecf@usdoj.gov
17   JUSTIN CHARLES VALENCIA on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11
     justin.c.valencia@usdoj.gov
18

19   /s/ Brian J. Braud
     Brian J. Braud, an employee of
20   SCHWARTZ LAW, PLLC
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                     EXHIBIT A




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